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_________________________________________________________________________________

                                                             SO ORDERED,



                                                             Judge Jason D. Woodard
                                                             United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT FOR
                        THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                           CHAPTER 13 CASE NO.:

KELVIN HARRIS and
FLOSSIE HARRIS                                                                   18-13111-JDW

                                              AGREED ORDER

         THIS MATTER came before the Court on the Joint Ore Tenus Motion of the above-named

Debtor 1 and Locke D. Barkley, the Chapter 13 Trustee (the "Trustee"), for entry of this Agreed

Order and the provisions contained therein as agreed upon by the Debtor and the Trustee. The

Court being fully advised in the premises does hereby order as follows:

         1.      In the event a secured creditor with a security interest in the Debtor's principal

residence (the " Mortgage Creditor") files a Notice of Post-Petition Fees, Expenses, and Charges

pursuant to Rule 3002.1 (c) of the Federal Rules of Bankruptcy Procedure (the " PPFEC"), the

Debtor hereby acknowledges and consents to the payment of each PPFEC in full by the Trustee

pursuant to 11 U.S .C . § 1326(b)(1).          Nothing contained in this Agreed Order shall serve as a



1
  The above-referenced Debtor or Debtors shall be referred to herein in the singular as Debtor unless specified
otherwise.
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waiver of the Debtor's right to object to the PPFEC within one (1) year pursuant to Rule 3002. l(e)

of the Federal Rules of Bankruptcy Procedure.

       2.      The Trustee is hereby authorized to adjust the Debtor' s plan payment as may be

necessary to comply with the terms of this Agreed Order.

                                     ##END OF ORDER##

AGREED & APPROVED:


Isl W. Jeffrey Collier
W. JEFFREY COLLIER (MSB# 10645)
MELANIE T. VARDAMAN - (MSB# 100392)
ATTORNEYS FOR TRUSTEE




KAREN B. SCHNELLER
ATTORNEY FOR DEBTORS




                                                                          Prepared by:
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